IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

OLGA DEMYANENKO-TODD, et al.,
Plaintiffs,
| 347-CV-772
V. : (JUDGE MARIANI)
NAVIENT CORPORATION, et al.,

Defendants.

ORDER
AND NOW, THIS AY DAY OF MAY, 2019, upon the parties’ agreement to stay
proceedings (Doc. 95) pending the Third Circuit's resolution of the interlocutory appeal in
Pennsylvania v. Navient Corp., No. 17-cv-1814 (M.D. Pa.), IT IS HEREBY ORDERED
THAT:

4. The above-captioned action is STAYED pending the Third Circuit's resolution of the
interlocutory appeal in Pennsylvania v. Navient Corp., No. 17-cv-1814 (M.D. Pa.).

2. Given the previous extensions to the case management schedule and the stay of
proceedings, Defendants’ Motion to Dismiss Plaintiffs’ Amended Complaint Pursuant
to Fed. R. Civ. P. 12(b) (Doc. 27) and Motion to Strike or Preclude Class Action
Allegations (Doc. 38) are DENIED WITHOUT PREJUDICE. If appropriate,

Defendants may refile these motions after the lifting of the stay.

 

Robert D. Mariani
United States District Judge
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May 6, 2019
VIA CM/ECF

The Honorable Robert D. Mariani

United States District Court

for the Middle District of Pennsylvania

William J. Nealon Federal Building & U.S. Courthouse
235 N. Washington Avenue

Scranton, PA 18503

Re: Demyanenko-Todd v. Navient Corporation, et al.
Case No. 3:17-cv-00772-RDM (M.D. Pa.)

Dear Judge Mariani:

We are counsel to Plaintiffs Olga Demyanenko-Todd, Kimberly Force, and Melissa
Miller (“Plaintiffs”) and write on behalf of both Plaintiffs and Defendants Navient Corporation,
Navient Solutions, Inc., and Navient Solutions, LLC (““Defendants” and, together with Plaintiffs,
the “Parties”), pursuant to Your Honor’s April 22, 2019 Order (ECF 94), to set forth the parties’
position regarding whether this action should be stayed pending disposition of the interlocutory
appeal certified to the Third Circuit in Pennsylvania v. Navient Corp., No. 17-cv-1814, 2019 WL
1052014, at *4-5 (M.D. Pa. Mar. 5, 2019).

The interlocutory appeal in Pennsylvania v. Navient addresses the question of whether
the Higher Education Act (“HEA”), 20 U.S.C. § 1098g, preempts the state consumer protection
law claims brought by the Commonwealth in that case. As the Court noted, Defendants made a
similar argument in moving to dismiss Plaintiffs’ claims in this action, which motion remains
pending. Thus, the Third Circuit’s decision may have significant implications on this matter.

Accordingly, the Parties have conferred and believe a stay of this action pending
resolution of the Third Circuit appeal in Pennsylvania v. Navient, is appropriate.

We are available at the Court’s convenience to address these matters.
Respectfully,

KESSLER TOPAZ
MELTZER & CHECK, LLP

Geoffrey C. Jarvis

 

cc: All counsel of record (via CM/ECF)

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